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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

ROBERTO SANDOVAL,
              Movant,                      CIVIL ACTION
                                           NO. 1:10-CV-4207-CAP
      v.
UNITED STATES OF AMERICA,                  CRIMINAL ACTION
                                           NO. 1:05-CR-324-4
              Respondent.



                                   O R D E R
     After carefully considering the report and recommendation of

the magistrate judge, together with the objections thereto, the

court receives it with approval and adopts it as the opinion and

order of this court.

     The court notes that the movant argues that the magistrate

repeatedly stated that the movant himself, not trial counsel,

failed   to   raise     several   issues   on   appeal   and   that   this   was

incorrect. The movant argues that he himself had no responsibility

to raise these issues, since he was represented by counsel.                   In

reading the report and recommendation, the court finds it clear

that the magistrate judge frequently referred to actions taken, or

not taken, by the movant when, in fact, those actions were taken,

or not taken, by counsel.         When a party is represented by counsel,

it is not unusual for counsel or the court to refer to a party with

respect to actions taken by counsel.            This is precisely what the
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magistrate judge did in this case.       There was no error in these

statements by the magistrate judge.

     SO ORDERED, this 15th day of November, 2011.


                                 /s/ Charles A. Pannell, Jr.
                                 CHARLES A. PANNELL, JR.
                                 United States District Judge




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